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                        UNITED STATES DISTRICT COURT FOR
                      THE DISTRICT COURT OF MASSACHUSETTS
                                 BOSTON DIVISION



 STUDENTS FOR FAIR ADMISSIONS, INC,

                Plaintiff,

                v.
                                                    Civil Action No. 1:14-cv-14176-ADB
 PRESIDENT AND FELLOWS OF
 HARVARD COLLEGE (HARVARD
 CORPORATION),

                Defendant.




         MOTION OF STUDENT AMICI CURIAE TO PARTICIPATE IN TRIAL

       Pursuant to the Court’s Order on June 15, 2015, welcoming Students to file a motion to

participate in the proceedings should this case proceed to trial, Students respectfully request that

they may participate in trial. (Dkt. 52.) Students would like to participate by making opening

and closing statements (to the extent the Court allows the parties to do so), presenting student

declarant testimony, and cross-examining SFFA’s expert witness Dr. Arcidiacono.

       In the Court’s Order denying Students’ motion to intervene, the Court granted Students

leave to participate in this action as amici curiae, including by (1) submitting a brief or

memorandum of law on any dispositive motion in this case; (2) participating in oral argument on

any dispositive motion in this case; and (3) submitting personal declarations or affidavits in

support of their memorandum of law, which may be accorded evidentiary weight if otherwise

proper. (Id. at 23.) The Court further stated “[s]hould this case proceed to trial, amici curiae
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may file a motion to participate in the proceedings, and the Court will consider the appropriate

scope of participation at that time.” (Id.)

       Students are a racially and ethnically diverse group that includes prospective students,

current students, and alumni of Harvard, all of whom are intimately impacted by Harvard’s race-

conscious policies. Students represent a broad cross-section of ethno-racial groups, identifying

as Asian-American, Black, Latino, Native American, and Pacific Islander. Students believe that

their participation in trial would benefit the Court because Students would provide a distinct

perspective.

       Absent the participation of Students, there will be no students at trial testifying in support

of Harvard’s consideration of race in admissions as Harvard did not identify any students as part

of its Rule 26 disclosures.

       Students are situated differently than both SFFA and Harvard in this litigation in light of

their lived experiences as ethno-racial minorities who have a personal stake in and insight into

racial diversity at Harvard. Students uniformly believe that Harvard’s continued right to consider

race to promote diversity is integral to their ability to access and thrive at one of our nation’s

most elite training grounds for educational opportunities and future leadership. Further, Students

believe that their own race and ethnicity shaped their experiences before, during, and after

college. Given the salience of race in their lives, Students contend that any individualized

assessment must allow students to share information about their race and allow the university to

consider it.    A system that willfully ignored race would fail to fully appreciate their

accomplishments, perspectives, and potential contributions. The outright ban proposed by SFFA

would deeply undermine their dignity by censoring their voices and their experiences as

individuals of color living in country that still reckons with its racist past and present. Moreover,




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students can testify to how Harvard’s race-conscious admissions program has benefitted them

both inside and outside of the classroom.

       In addition to providing a distinct student perspective on race-conscious admissions,

Students also depart from both parties with regard to SFFA’s intentional discrimination claim.

Unlike Harvard, Students note the data in the record that suggests special category preferences

disadvantage Asian Americans in the admissions process (as well as other ethno-racial groups)

vis a vis whites but concur with Harvard that SFFA has not demonstrated intentional

discrimination. Students condemn any discrimination that is proven at trial, but fundamentally

disagree with the remedy SFFA seeks: a blanket ban on “any use of race or ethnicity in the

educational setting” in a manner that “does not permit those engaged in the decisional process to

be aware of or learn the race or ethnicity of any applicant for admission.” (Dkt. 1 at 119.)

Students also have raised arguments challenging the analysis and conclusions of Plaintiff’s

expert Dr. Arcidiacono that are different than that of Harvard, and, consistent with that, would

raise unique issues on cross-examination.

       SFFA has acknowledged that Students are differentially situated than other amici in this

case, because Students moved to intervene over three years ago and filed their initial declarations

during discovery, which permitted the parties, to the extent necessary, to address the significance

of Students’ declarations. (Dkt. 479 at 4-5.) In similar fashion, Students believe that their

participation in trial would benefit the Court and not prejudice either party. Students file this

motion now to provide ample notice of the limited role Students request to play at trial. Students

also provide below the individual Students who wish to testify at trial, within the discretion of

the Court.




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       Students request direct examination of individual Students who previously submitted

declarations, with a cumulative direct examination time of no more than six hours. Students are

providing witness disclosures below so that any opposition to this motion by the parties would be

due on the same day that the parties are responding to each other’s witness disclosures. Thus,

the pre-trial schedule is not compromised in any way by this Motion.

       Students witness list is as follows:

       1. Sally Chen, who identifies as Chinese American and is a senior at Harvard, is

           prepared to provide testimony on: (a) How both her race and class intimately

           impacted her educational and extracurricular experiences prior to college; (b) How

           her ethno-racial identity was an integral part of both her application and interview for

           Harvard; (c) How her review of her application file indicated Harvard appreciated her

           perspective as a low-income Chinese American; (d) How her SAT scores and grades

           did not fully capture her potential; (e) How ethno-racial diversity on Harvard’s

           campus has benefitted her by providing a foundation for her student activism to

           secure an Ethnic Studies program that includes Asian American Studies; and (f) How

           greater racial diversity is needed at Harvard to improve the racial climate for all

           students of color, including Asian Americans. (See Dkt. 440, Ex. 1.6.)

       2. Thang Diep, who identifies as Vietnamese American and is a senior at Harvard, is

           prepared to provide testimony on: (a) How his experience as a Vietnamese immigrant

           in California intimately impacted his experiences prior to college; (b) How his ethno-

           racial identity was an integral part of both his application and interview for Harvard;

           (c) How his review of his application file indicated Harvard appreciated his

           perspective as a Vietnamese immigrant experiencing language barriers; (d) How his


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   SAT scores and grades did not fully capture his potential; (e) How there is a need for

   greater intra-racial diversity at Harvard of Asian Americans since lower-income

   Asian subgroups (such as Vietnamese students) have notably lower representation on

   campus; (f) How ethno-racial diversity at Harvard has greatly broadened his

   understanding around critical academic and social issues; (g) How all students of

   color have benefited from the advocacy of individual affinity groups, such as Black

   student groups on campus; and (h) How greater racial diversity is needed at Harvard

   to improve the racial climate for all students of color, including Asian Americans.

   (See Dkt. 440, Ex. 1.8.)

3. Itzel Libertad Vasquez-Rodriguez, who identifies as an indigenous Mexican-

   American or “Xicana” and graduated from Harvard in 2017, is prepared to provide

   testimony on: (a) How her experience as an indigenous Mexican-American shaped

   her perspective and experiences both prior, during, and after college as she has

   endured stereotypes and also derived strength from her ethno-racial identity; (b) How

   in choosing colleges, it was important to her that Harvard considered ethno-racial

   identity as part of the admissions process and had an ethnically diverse campus; (c)

   How the representation of students of color on campus reduced her sense of racial

   isolation, allowed her to thrive, and expanded her ability to understand and solve

   issues both academically and socially; (d) How diversity and intra-racial diversity at

   Harvard helped counteract assumptions and prejudice, although combatting

   stereotypes is tiring work; (e) How she desired greater levels of racial diversity on

   campus to reduce her sense of isolation; (f) How she experienced socioeconomic

   differences among peers differently than racial diversity; and (g) How Harvard’s




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   ethno-racial identity better prepared her to work in a diverse, global workforce. (See

   Dkt. 440, Ex. 1.12.)

4. Jang Lee, who was born in Korea and is a senior at Harvard, is prepared to provide

   testimony on: (a) How his experience as a Korean immigrant in a predominantly

   white Texas suburb intimately impacted his experiences prior to college where he

   grappled with stereotypes about Asians as academic overachievers; (b) How his

   ethno-racial identity was integral to his application and interview for Harvard; (c)

   How Harvard presented his first opportunity to live and learn alongside peers of

   diverse ethno-racial backgrounds after growing up in a predominantly white suburb;

   (d) How Harvard’s social justice initiatives and organizations are substantially driven

   by students of color; (e) How Harvard’s ethno-racial diversity has enhanced his

   academic studies in psychology which considers issues of racism, prejudice, and

   social hierarchies; and (f) How greater racial diversity is needed at Harvard to

   improve the racial climate for all students of color, including Asian Americans. (See

   Dkt. 440, Ex. 1.4.)

5. Daniel Lu, who identifies as Chinese American and is a junior at Harvard, is

   prepared to provide testimony on: (a) How both his race and class intimately

   impacted his educational and extracurricular experiences prior to college; (b) How the

   model minority myth essentializes Asians and obscures the discrimination that

   underrepresented Asian ethnic groups experience; (c) How his ethno-racial identity

   was an integral part of both his application and interview for Harvard; (d) How ethno-

   racial diversity on Harvard’s campus has benefitted him by enhancing learning

   opportunities through extracurricular activities driven by students of color and




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   motivated him to be more interested in activism; and (e) How greater racial diversity

   is needed at Harvard to improve the racial climate for all students of color, including

   Asian Americans. (See Dkt. 440, Ex. 1.3.)

6. Caroline Zheng, who identifies as Chinese American and is a senior at Harvard, is

   prepared to provide testimony on: (a) How Harvard presented her an opportunity to

   live and learn alongside peers of diverse ethno-racial backgrounds after growing up in

   a predominantly white suburb; (b) How ethno-racial diversity on Harvard’s campus

   benefitted her by exposing her to different viewpoints and provided meaningful

   opportunities for her to confront her own prejudices and privilege; (c) How holistic

   admissions creates a more enriching educational environment for all students by

   admitting students who may not have had the resources to invest in test prep classes

   and extracurricular activities but who are equally, if not more, qualified to be at

   Harvard; and (d) How greater racial diversity is needed at Harvard to improve the

   racial climate for all students of color, including Asian Americans. (See Dkt. 440,

   Ex. 1.9.)

7. Sarah Cole, who identifies as a Black American and graduated from Harvard College

   in 2016 and Harvard Graduate School of Education in 2017, is prepared to provide

   testimony on: (a) How her experience as a Black American shaped her perspective

   and experiences both prior, during, and after college as she has endured stereotypes

   and also derived strength from her ethno-racial identity; (b) How in choosing

   colleges, it was important to her that Harvard considered ethno-racial identity as part

   of the admissions process and had an ethnically diverse campus; (c) How challenging

   an environment can be in which students of color feel isolated and marginalized; (d)




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           How ethno-racial diversity at Harvard sharpens students’ critical thinking, develops

           their capacity for empathy and regard for others, and prepares them to be change

           agents; and (e) How greater racial diversity is needed at Harvard to improve the racial

           climate for all students of color. (See Dkt. 440, Ex. 1.10.)

       8. Fadhal Moore, who identifies as African-American and graduated from Harvard in

           2015, is prepared to provide testimony on: (a) How both his race and class intimately

           impacted his experiences prior to college and the race-based barriers he faced both in

           and out of school; (b) How his SAT scores and grades did not fully capture his

           potential; (c) How the representation of students of color on campus reduced his

           sense of racial isolation, allowed him to thrive, and expanded his ability to understand

           and solve issues both academically and socially; (d) How extracurricular activities

           driven by students of color created vital spaces to express every part of his cultural

           and intellectual identity; (e) How ethno-racial diversity at Harvard has greatly

           broadened his understanding around critical academic and social issues; and (f) How

           greater racial diversity is needed at Harvard to improve the racial climate for all

           students of color. (See Dkt. 440, Ex. 1.11.)1

       Students have conferred with the parties. SFFA opposed this Motion. To the extent that

Students seek to participate in the trial by proffering some of their student or alumni witnesses,

Harvard supports this Motion.




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  If Students are allowed to participate at trial, Students’ only exhibits would be the applications
of the Students who testify and the exhibit at Dkt. 509, Ex. 1. Students are willing to provide
these documents to the parties if they agree to keep them confidential unless and until they are
used by Students at trial.



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       Wherefore, Students respectfully request that the Court grant them the limited role in trial

to make opening and closing statements, present student declarant testimony, and cross-examine

SFFA’s expert witness Dr. Arcidiacono.

                                                    Respectfully Submitted,


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Dated: August 31, 2018                                COUNSEL FOR AMICI CURIAE




                                 CERTIFICATE OF SERVICE
       In accordance with Local Rule 5.2(b), I hereby certify that this document filed through

the ECF system on August 31, 2018 will be sent electronically to the registered participants as

identified on the Notice of Electronic Filing.

                                                            /s/ Lawrence Cullen
                                                            Lawrence Culleen




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